          Case 4:02-cr-40078-JPG                      Document 1130 Filed 07/14/11                     Page 1 of 3          Page ID
Ib..AO 2450                                                     #1538
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sbeet I



                                      UNITED STATES DISTRICT COURT                                                           1:'11..1$.
                                                           Southern District of Illinois                                  JUt.             ()
                                                                                                             SoZ<EOf?1(        I~
         UNITED STATES OF AMERlCA                                         Judgment in a Criminal Case 7"IiEOIi",l1.s. 0, ~Oll
                              v.                                          (For Revocation of Probation or Supervised f(tJ:~"f?~7"f?IC
                                                                                                                            0", 0 C,. 0 7" Co
                      Adam Holsey                                                                                                PPI P Ii. uf?,.
                                                                                                                                    CEO   <Itvo
                                                                                                                                              IS
                                                                          Case No. 4:02CR40078-032-JPG
                                                                          USM No. 42503-018
                                                                            Michael S. Ghidina
                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            as alleged below                  of the term of supervision.
o was found in violation of condition(s)                _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                             Violation Ended
                                   The defendant tested positive for synthetic cannabis                        03/30/2011




       The defendant is sentenced as provided in pages 2 through _--,,3:-_of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of narne, residence, or mailing address until all fines, restitntion, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitntion, the defendant must notify the court and United States attorney of material changes m
econOmIC ClTcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6854                         07/14/2011

Defendant's Year of Birth:            1982

City and State of Defendant's Residence:
Marion, IL 62959
                                                                            J. Phil Gil ert                              District Judge



                                                                                                             ate
          Case 4:02-cr-40078-JPG                    Document 1130 Filed 07/14/11          Page 2 of 3        Page ID
AO 245D                                                       #1539
            (Rev. 12107) Judgment in a Criminal Case for Revocations
            Sheet lA

                                                                                           Judgment-Page _ ...2,-_    of    3
DEFENDANT: Adam Holsey
CASE NUMBER: 4:02CR40078-032-JPG

                                                       ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number                Nature of Violatiou                                                                  Concluded
Special                         The defendant failed to reside in a Residential Reentry Cener as directed        05/18/2011
            Case 4:02-cr-40078-JPG                       Document 1130 Filed 07/14/11            Page 3 of 3           Page ID
  AO 2450       (Rev. 12/07) Judgment in a Criminal Case for Revocations #1540
                Sheet 2- Imprisonment

                                                                                                Judgment -   Page   _.::3_ of     3
  DEFENDANT: Adam Holsey
  CASE NUMBER: 4:02CR40078-032-JPG


                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total tenn of :
22 months




      "     The court makes the following recommendations to the Bureau of Prisons:

That the defendant participate in the Intensive Drug Treatment Program.




      "     The defendaot is remanded to the custody of the United States Marshal.

      o The defendaot shall surrender to the United States Marshal for this district:
            o    at   _________ 0                    a.m.     o   p.m.       on
            o    as notified by the United States Marshal.

      o The defendaot shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o    before 2 p.m. on
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                   to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                         By _ _ _~~~~~~~~~~~---_
                                                                                          DEPUTY UNITED STATES MARSHAL
